The editor of the Morning News was then called and sworn as a witness for the defendant, and stated that the paragraph published in that newspaper on the morning of July 23, 1880, *Page 437 
and then produced and shown to him, was published on information given to him the evening before by Mr. Tatnall, the plaintiff. It was as follows: "Mr. Edward Tatnall, the employer of Mr. Hayden, who is the hero of the elopement detailed in yesterday's Daily News, says that the latter gentleman is a grown man, trustworthy and competent; that the young woman whom he has made his wife is only a step-daughter of Mr. Courtney, and that she will come, of right, into $10,000 when she is of age."
Another witness stated he showed the paragraph in the newspaper, on the morning of its publication, to Mr. Courtney, the defendant, and that he appeared very angry when he read it; and that he saw the assault and battery made by him afterwards upon the plaintiff about six o'clock in the afternoon.
In the argument of the case before the court and jury, Emmons,
for the plaintiff, cited 2 Greenl. Ev., § 267; Sedw. on Dam., 567.
The Court,